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       UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA


DAVID STEBBINS,                                                            PLAINTIFF^^E
VS.                                                                               JAM 10 202*1
THIAGO CHAGAS GARCIA BAZ                                                   DEJ'^NPAI^TiSTRICT COURT
                                                                             NORIH DiSrfiiCT OF CALlFORNiA
                                          COMPLAINT

        Comes now,pro se Plaintiff David Stebbins, who hereby submits the following
Complaint against defendant Thiago Chagas Garcia Baz for thirteen (13)complaints of copyright
infringement, one (1)count of libel, and one (1) count of DMCA Misrepresentation in violation
of 17 use §512(f)(2).
                                     I: PARTIES TO THE CASE

1.      I am a Youtuber and Twitch streamer who goes by the alias "Acerthorn." My Youtube
channel can be found at the url of www.youtube.eom/@acerthom, and my Twitch channel can be
found at the url of www.twitch.tv/acerthorn.

2.      The Defendant used to have a YouTube channel of his own before it was terminated after

he received four different copyright strikes from me. This channel went by the name "Templar
Dragonknight, Son ofThudner." He is a resident of Brazil. According to his DMCA Counter-
Notification, he can be served with process at the following address:
                                          Guaira street #51
                                           Apartment 112
                                           Sao Paulo, SP
                                               Brazil


                               II: JURISDICTION AND VENUE

3.      This Court has subject-matter jurisdiction over this case because, as a case for copyright
infringement, it has federal question jurisdiction.
4.      Venue and personal jurisdiction is proper in this court pursuant to the statute of 17 USC §
512(g)(3)(D).

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     (a)      The defendant is a foreign national. Specifically, he is a resident(and presumably
     citizen) of Brazil.
     (b)      When he issued his DMCA Counter-Notification, he checked a box that said "I
     consent to the jurisdiction of the Federal District Court for the district... if my address is
     outside of the United States, the Judicial district in which YouTube is located, and will accept
     service of process from the claimant." This consent was required in order for the counter-
     notification to be legally valid, under § 512(g)(3)(D).
     (c)      YouTube is headquartered in San Bruno, CA, which is part of the Northern District of
     California. Therefore, this court has personal jurisdiction over this case.
                                     Ill: FACTS OF THE CASE

5.         The following facts are necessary to understand this case.
                                    III-l: The Copyrighted Works
6.         I own the following copyrights, which are relevant to this action:
                                  IlI-l-A: Acerthorn Channel Icon #6

7.         On or around May 31,2019,1 created a 2D image that 1 would then proceed to use as my
channel icon for several years. 1 dubbed this image "Acerthorn Channel Icon #6," and registered
the copyright under that name,
III-l-B: The YouTube video "Whv I Demand Civilitv in the Comments of mv Videos" faka "the

                                            Civilitv video"!

8.         On October 17, 2020,1 published a video to my YouTube channel called "Why I Demand
Civility in the Comments of my Videos." For simplicity's sake, 1 will refer to it as "the Civility
video" for the rest of this Complaint. The video can be found at the following uri:
                           https://www.youtube.com/watch?v=Pynxo57AB5s
9.         This video was created by me, and so contains human authorship. It has minimum
creative spark because it contains multiple opinions of mine, as well as explanations as to why 1
hold the opinions I hold. The Court need only watch the video itself to see for itself that the way
I express my opinions in this video constitutes minimum creative spark.




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III-1-C: The YouTube Video "Elden Ring Sucks, and Here's Why"(aka "the Eiden Ring video"1
10.         On March 23, 2022,1 posted a video to my YouTube channel called "Elden Ring Sucks,
and Here's Why." For simplicity's sake, I will refer to it as "The Elden Ring video" for the rest of
this Complaint. The video can be found at the following url:
                            https://www.youtube.com/watch?v=mOiT_TFcaFE
11.         Like the Civility video before it, this video contains minimum creative spark because I
fill the video with opinions of mine, as well as explanations as to why 1 hold the opinions I hold.
Just like with the civility video, I feel the Court need only watch the video itself to see for itself
that the way I express my opinions in this video constitutes minimum creative spark.
                                      III-l-D: Ten Copvriehted Songs
12.         In February of 2023,1 contracted with a composer in Argentina by the name of Augustin
Navarro to compose ten original songs for my channel.
13.         The titles for these ten songs are as follows:
   (a)         Acer's High
   (b)         Long Prat Fall
      (c)      Sigh of Relief
   (d)         Section of Life
      (e)      Sample of Life
      (f)      Epic Moment
   (g)          Blinding Rage
   (h)         There Is No Hope
      (i)       Smile on My Face
      (j)      Ready for Action
14.         You can listen to these songs by going to the following unlisted playiist on YouTube:
https://www.youtube.com/pIaylist?list=PLpL3n7W6QqgBB_ZRVducMkGN3CRaz3isQ
However, you will have to pay my channel at least $1 per month to be able to listen to these
songs. Maybe, once this case gets underway, I can file under seal so the Court can hear these
songs for free without me giving away free samples to the public.


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15.      These were works for hire, which means that I own 100% of the copyright to these songs,
and he only received a flat fee for his labor.
16.      These songs are legally eligible to be works for hire because they were intended to be
used as background music for my YouTube channel. Therefore, they qualify as "supplementary
works," specifically they were composed "as a part of a motion picture or other audiovisual
work," thereby meeting the legal definition to be a work for hire under 17 USC § 101.
17.      Barring that, Navarro and I signed a contract, written by an American attorney at our
behest, stating that, even if these songs are not legally eligible to be works for hire, he was still
sellingXht copyrights to me. When I showed this contract to Identifyy', they accepted this
contract as proof that I was indeed the sole copyright owner (although my attempts to do
business with them fell through the cracks for other reasons), so I am confident this Court will
accept this contract as proof that 1 am copyright holder, once I disclose it in discovery.
18.      In any event, I registered the copyright for these ten songs before I began using them in
any of my videos. The registration number for these ten songs is Sru001538491. The effective
date of registration is March 5,2023.
19.      Although 1 have registrations for these ten songs, and these songs will invariably be
included in all of my YouTube videos going forward (meaning anyone who copies any portions
of my videos will, almost invariably, be copying portions of these songs as well), it is not
necessary for a secondary user to criticize these songs, specifically, in order to be eligible for the
"fair use" defense. My registration of these ten tracks can be used as a work-around to keep me
from expensively having to register each individual video every time it gets infringed upon, but
it is not a work-around that gets around fair use law. As long as a secondary user makes a fair use
of whatever videos contain these songs, their use of the music itself should also be classified as
fair use.

20.      However, that still requires they actually make fair use of the videos, and as this Court is
surely aware (and which many people on the Internet frequently get wrong), fair use requires
more than just providing criticism. Criticism is certainly a good first step to fair use, but it's only

1   Identifyy - spelled with two Y's at the end - is an online company that assists musical artists in registering their
    songs for YouTube's "Content ID" system, so they can place copyright claims on videos which use those songs.

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one factor.

 IIl-l-E: the YoiiTube video "You Should Side with the Stormcloaks. and Here's Why"faka "the
                                         Stormcloaks Video"')

21.     On March 25, 2023,1 published a video on my channel called "You Should Side with the
Stormcloaks, and Here's Why." For simplicity's sake, I will refer to it as "the Stormcloaks video"
for the rest of this complaint. You can see this video at the following url:
https://www.youtube.com/watch?v=skZOI41DKhI
22.     This video was dedicated to discussing the lore and story of a video game called "The
Elder Scrolls V: Skyrim." Specifically, it discussed the civil war that happens during that game
whereby an army of rebels known as the Stormcloaks are attempting to overthrow the existing
Empire. As the title of this video suggests, I side with the Stormcloaks while playing this game,
and in this video, I argue my case for why people should do the same.
23.     Throughout this video, I use all ten of my copyrighted songs as background music. I
begin with "Long Pratt Fall" in the first 14 seconds, then switch to "Acer's High" for timestamps
0:14 - 1:33, then to "Smile on my Face" during timestamps 1:34 - 5:07, and so on. This means
that anyone who copies 100% of the March 25 video also necessarily infringes on ten different
copyrights, not just one. Now again,just like I said earlier, this doesn't matter if the secondary
use is a fair use, but again, fair use requires more than just criticism alone.
               III-l-F: The songs, the icon, and all three videos, are all unpublished.
24.     It is also worth noting that all ten songs, as well as all three videos, all fit the legal
definition of"unpublished." This is because these songs were only ever published on YouTube. A
work is not considered "published" simply because it is posted online. This is established by
"Circular 66," which is published by the US Copyright Office. You can find that document here;
https://www.copyright.gov/circs/circ66.pdf
25.     On pages 4-5 of that circular, it says in pertinent part...
        "The fact that a work has been placed online or posted on a website does not
        necessarily mean that the work has been published. The Office considers a work
        published when copies of it are distributed to the public by sale or other transfer
        of ownership if the copyright owner authorizes the end user to retain copies of the
        work. Merely displaying or performing a work online generally does not

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        constitute publication, ... Just because an end user can technically reproduce a
        work does not necessarily mean that the work has been published. A copyright
        owner must have expressly or implicitly authorized users to make retainable
        copies of a work by downloading, printing, or other means for the work to be
        considered published.

        The concepts of authorization and publication can be complicated and may have
        serious consequences for the author or copyright owner. For this reason, the
        Office generally lets the applicant decide whether a particular work is published
        or unpublished. In making this determination, you may wish to consider the
        following general guidelines.

        • Work made available only by streaming. Streaming is a performance, which, in
        and of itself, does not constitute publication, because, as a practical matter, the
        end user does not retain a copy of the work when the performance ends.

        • Work for which downloading or reproduction is expressly prohibited. Ifthere is
        a notice on a website in the terms ofservicefor the site or another obvious
        place indicating that a work or the content on the site cannot be downloaded,
        printed, or copied, the work or content may be deemed unpublished, because the
        end user is not authorized to download, print, or otherwise distribute copies.



        • Work made available through an implied license. It may be unclear whether the
        copyright owner authorized the public to retain copies of the work if a work is
        posted on a website and there is no evident statement in the terms of service for
        the site—on the web page where the work is displayed or elsewhere—stating that
        the work can be downloaded, copied, forwarded, shared, or printed."

26.     Important sections of that excerpt were bolded and italicized for emphasis.
27.     Applying these rules to the instant case, none of the copyrighted works in question here
qualify as "published." They are merely "performed" on my YouTube channel, not licsensed or
sold. There was no option to download these works for offline viewing, except by third party
means. YouTube expressly forbids downloading any videos off of their site except through the
methods they themselves provide^ nor have I hosted any of these songs, or March 25 video, on

2 See https;//www.youtube.com/t/ierms:

   "The following restrictions apply to your use of the Service. You are not allowed to:
   1. access, reproduce, download, distribute, transmit, broadcast, display, sell, license, alter, modify or otherwise

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any other services besides Twitch or YouTube, so there is no way I posted it to any website
which explicitly authorizes third party downloading.
28.     The closest you could get to having these streams be considered "published" is by
pointing out that YouTube allows members of its "YouTube Premium" service to download .
videos for offline viewing. See https://www.youtube.com/premium ("Downloads Save videos for
when you really need them - like when you're on a plane or commuting"). However, that still
doesn't count. These so-called "downloads" are only viewable within the YouTube mobile app
and, most importantly of all, are automatically deleted after a few days, because they aren't
meant as a substitute for downloading of videos to get around copyright. It is meant for
commuters and such, who are only without Internet for a few hours, or 1 -2 days at most.
29.     In other words, the existence of YouTube Premium's download feature does not constitute

publication of YouTube videos, because the videos downloaded using that feature are not
"retainable." As shown above, that was an essential element in whether or not posting something
on a website constitutes publication.
30.     Even if YouTube premium downloads were classified as "retainable," the fact that they
can only be viewed within the YouTube mobile app means that the original infringer in this case
could not possibly have used that method to create his infringing series, so it still doesn't count.
31.     The only way you can download videos off of YouTube in a way that is both retainable,
and expressly authorized by the service, is if you were logged into the channel's account and
download them from your YouTube Analytics page. Since the individual infringer in this case
obviously cannot claim to have gotten any of my videos using that method,the videos are
therefore legally classified as "unpublished" for purposes of this case.
32.     However, even if my understanding of the word "retainable" is wrong, it ultimately
doesn't matter. Bear in mind that Circular 66 says that "it is unclear" whether this counts as a
"publication." Earlier in that excerpt, they also stated that, whenever it is ambiguous, ihe
copyright owner ^ets to decide whether it is published or unpublished! This means that the
burden falls to the defendant to prove, notjust that 1 am wrong about this, but that I am

   use any part of the Service or any Content except:(a)as expressly authorized by the Service; or(b) with prior
   written permission from YouTube and, if applicable, the respective rights holders"

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objectively unreasonable in forming my belief. If there is any ambiguity in the facts, my
preference is entitled deference. Therefore, the songs and videos are still legally classified as
"unpublished" and there's no two ways about it.
                                   111-2: Infringements by Defendant
33.      Defendant Baz has made numerous videos responding to my videos, claiming to be
"debunking" them. I disagree with his reasoning, but that is not the point of this lawsuit. The
point is that he used my copyrighted content in a way that is not fair use. He, along with
countless other YouTubers, have this delusional belief that, as long as they provide a token
amount of criticism of someone's video, there is a 100% chance that their response videos are
fair use, no ifs ands or buts, and therefore they are entitled to copy literally 100% of the original
video and completely displace the market for the original. Baz is one such delusional individual,
and his infringements of the three videos mentioned above^, and for the reasons set forth below,
none of them qualify as fair use.
                            11I-2-A: Infringement#!: The Civilitv Response
34.      On February 23, 2021 and March 25, 2021, Baz posted a two-part response video to the
Civility video, titled "Everything Wrong with Acerthorn's Why 1 Demand Civility In the
Comments of My Videos," Part 1 and Part 2, respectively. For simplicity's sake, 1 will refer to
this 2-part response as "the Civility response" for the remainder of this case.
35.      If the videos were still publicly visible, you could view them at the following urls:
   (a)       Part 1: https://www.youtube.com/watch?v=zMpSK411j18
   (b)       Part 2: https://www.youtube.com/watch?v=hVzcCMMgK.y8
36.      Between both parts, 100% of my original video is used, literally every single last second
of it. Not only that, but he only marginally criticizes the video, only occasionally stopping to
make a comment. There are several moments when he plays long stretches of my video, multiple
minutes on end, without stopping to give criticism. For example, in Part 1, at timestamp 23:21 -
26:36, there's a 3 minute and 15 second stretch where he just plays my video without
interruption. Also, in Part 2, at timestamp 5:25 - 8:43, we have a 3 minute and 18 second stretch

3 which collectively amount to twelve different copyrighted works infringed upon, since the Stormcloaks video
   counts as ten different copyrighted works

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of same. There are plenty of other examples besides these. These are just the only two examples
where more than three minutes of my video were played without interruption, but there were
plenty of instances where 90-120 seconds of my video were also played without interruption. At
no point were any of these instances of excessive copying actually necessary to make the
criticism he was making. It was just pure excess and pure greed for its own sake.
 I1I-2-B: Infringement #2: Unauthorized and Unnecessary Use of''Acerthorn Channel Icon #6"

                                    during Part 2 of the Civility Response
37.      In addition to making a non-fair use of my Civility video, at timestamp 25:55 of Part 2 of
his civility response, he also proceeded to criticize a few of the comments 1 left in th comment
section of my own videos. While he is certainly allowed to criticize my comments, he also
showed my at-the-time channel icon (Acerthorn Channel Icon #6)alongside these comments.
There was absolutely no reason he needed to do that. He could very easily have placed red or
black bars over the comment to obstruct it, or perhaps even cropped out the icon entirely.
38.      For a demonstrate of the latter, please see this video: https://youtu.be/GlTWOuUehzY.
That is a video I posted after Baz's channel was terminated, boasting about my victory over him.
At timestamp 58:19 of that video, you can see that 1 show one of Baz's community posts'' where
he complains about the copyright strikes he received from me. However, you will notice that
carefully cropped out the left side of these comments, where his icon (which may or may not
have been copyrighted, but I did not wish to take the risk) was visible. I wasn't interested in
critiquing the icon, so I didn't show the icon. Instead, the only thing I showed was the thing I
actually wanted to critique: The comment itself.
39.      That is what Baz should have done with my comment and icon. But he didn't. He simply
displayed my icon brazenly, without criticizing it, and without any necessity to display it. Rather,
pursuant to the delusional belief mentioned above about how fair use works, he believed that,
since he was providing some nominal criticism towards me in any capacity, no matter how slight
the quantity or quality, he automatically and necessarily had carte blanche to use whatever
content of mine he so desired, witliout regard to necessity, excess, or anything else, simply

4 Text-only posts, similar to comments on videos, that are not tied to any particular videos, but are instead
   associated with the entire channel.


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because he and many other YouTubers delusionally believe that is how fair use works.
                          1II-2-C: Infringement #3: The FJden Ring Response
40.       On July 14, 2022, Baz posted a video to his channel called "Bashing Acerthom's Stupid
Political Tweets (plus his Idiotic Review of Elden Ring)." As the name suggests, the latter half of
this video (specifically, beginning on timestamp 26:24) has him responding to my Elden Ring
video. For simplicity's sake, I will refer to this response as "the Elden Ring response" for the
remainder of this case.

41.       If the video were still publicly visible, it could be viewed at the following url:
                          https://www.youtube.com/watch?v=F8FCdbryyVw
42.       Just like with the civility response, Baz copies literally 100% of the original Elden Ring
video, every single last second of it. This time, the original video was only 3 minutes and 49
seconds long, so the excerpts which he copies without interruption are naturally going to be
much shorter, but they are still far in excess of what was actually necessary in order to make the
criticism he wanted to make. For example, at timestamp 29:34- 30:40, he plays a 1 minute and 6
second clip of my video before finally stopping to give any criticism, when he could very easily
have only copied the final 12 seconds before finally pausing. Also, at 31:08 - 32:05, he plays the
final 56 seconds of my video, but then proceeds to give his critique of the video as a whole,
meaning he could have conceivably omitted that 56-second clip in its entirety without losing
anything in the way of providing context for his criticism (which is supposedly the whole reason
why some limited copying of copyrighted material is necessary to make criticism in the first
place).
43.       Those two clips alone amount to 2 minutes and 3 seconds of excessive copying. Since the
original Elden Ring video was only 3 minutes and 49 seconds long, that means that these two
clips alone constitute a majority of the original Elden Ring video's total length! Even if you don't
count the aforementioned 12 seconds mentioned above, which I concede could have reasonably
been kept in order to make his criticism, the remaining 1 minute and 51 seconds of unnecessary
copying still amounts to approximately 48% of the original video's length that Baz did not need
at all in order to make his criticism.




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                    II1-2-D: Infringements #4 - #13: The Stormcloaks Response
44.      For the next ten counts of infringement, Baz proceeded to make a multi-part series
responding to the Stormcloaks video. For simplicity's sake, I will refer to this multi-part series as
"The Stormcloaks Response" for the rest of this case. He only managed to post three parts of this
series before I had his channel terminated through DMCA Takedowns and copyright strikes, but
he made it clear, in Part I of his series, that, once he had completed the entire series, he would
have copied literally 100% of the Stormcloaks video, literally every single last second of it.
45.      If the series were still publicly visible, they could be viewed at the following urls:
   (a)      Part 1: https://www.youtube.com/watch?v=rWxBy9xY93M
   (b)      Part 2: https://www.youtube.com/watch?v=MAHQAx3U6_s
   (c)      Part 3: https://www.youtube.com/watch?v=4idQ5q8ox7Y
46.      His use of footage from my March 25 video begins at timestamp 2:47 of Part 1, at
timestamp 1:21 of Part 2, and timestamp 1:21 of Part 3. Remember that it is the music, not the
entire video, that 1 am suing over in this section of the Complaint. The Stormcloaks video iS'
merely the video where these songs were used, so Baz's copying of the Stormcloaks video
constitutes the use of my copyrighted music.
47.      In all three parts he managed to post before his channel was terminated, he played all ten
of the copyrighted songs that I used as background footage for the Stormcloaks video. I will
provide timestamps where all ten songs are played when the case moves onto discovery, but all
ten are there.

48.      Although Baz provides some criticism (not really extensive or thorough criticism, but
criticism nonetheless), he copies far more of the Stormcloaks video than what is actually
necessary for him to make this criticism. At multiple points in his response, he plays several
minutes worth of the Stormcloaks video uninterrupted, only occasionally stopping to make
rebuttal arguments. Entire sections of the Stormcloaks video would be played in their entirety
without him stopping once to give even a single sentence of criticism. For example, in Part 1,
timestamp 27:47 - 29:23 and again at timestamp 37:46 - 39:32, my "Undisputed Facts" #1,#2,
#7,#8, and #9, were all played in their entirety without TDSOT slopping once to give even a



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single sentence of criticism!
49.     Even in sections where he stopped occasionally to provide criticism, he still copied much
more of my video than was necessary to make his criticism. For example, in Part 2, at timestamp
3:41 - 8:14, there is afour minute and 33 second stretch of my video being played without
interruption before he finally stops to make a comment! The criticism he then proceeds to give is
only relevant to the eight seconds immediately before he paused. This means that there was a
total of 4 minutes and 25 seconds of my footage that he could have removed from his response
video because it had no bearing on any of the criticism he was providing, and he just didn't.
50.     The music that I had playing in this section of the video was "Section of Life." As you
can see from the unlisted playlist provided above, that song is normally 3 minutes 8 seconds
long. I had it playing on a loop in the background in this section of the Stormcloaks video
(which, as the copyright holder, I was well within my right to do; no fair use necessary). This
means that, in the aforementioned AVi minute segment, Baz played more than one hundred
percent of that copyrighted song, without stopping to give criticism once!
51.     As I sit through both of these videos, I can see that the entirety of the series is like this.
He will play my Stormcloaks video in its entirety, only occasionally stopping to make criticism,
but for the most part, this is hardly his video; it's my video with very sparse and very occasional
commentary penciled into the margins.
52.     At 2:33 of Part 1, he says he will only debunk about 20 minutes of my video at a time,
and at timestamp 39:52 of Part 1, he admits that there is "still plenty to come." In other words, by
the time he finishes this series, he will have copied the entirety of my Stormcloaks video,
literally every single second of it, while only responding to and criticizing a very small portion of
it. He was not able to finish the series before I had his channel terminated, but he has made it
clear that this is what he planned to do.
                         ni-3: DMCA Takedowns and Copyright Strikes
53.     On July 22, 2023, when I discovered Parts 1 and 2 of the Stormcloak Response, I
performed a review of the videos for fair use as required under Lenz v. Universal Music Corp.,
815 F. 3d 1145 (9th Cir. 2015) and, upon reaching a good faith determination that the two videos



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did not constitute fair use, I issued a DMCA Takedown to YouTube to have these two videos
removed. Part 3 of the Stormcloak Response had not been posted yet.
54.    Youtube and I had a back-and-forth conversation, and by the time we had sorted out our
communication issues, Baz had posted Part 3 of the Stormcloak Response video. I therefore
issued a new DMCA Takedown against it after, once again, verifying that I, in good faith, did not
believe the video qualified for fair use. This time, however. Part 3 was taken down without issue,
granting him a single copyright strike.
55.    Part 2 of his Stormcloak Response video was taken down at a later date, giving him a
second copyright strike. He then proceeded to remove Part 1 of the Stormcloak Response series
of his own accord, so he never got a copyright strike for it.
56.    I then proceeded to issue DMCA Takedown Notices for his Elden Ring Response as well
as his two-part civility response. On August 24, 2023, YouTube took down his two-part Civility
Response and issued him a third copyright strike (one strike between both videos), causing his
YouTube channel to be terminated. On September 1, 2023, YouTube also took down his Elden
Ring Response, giving him a fourth copyright strike.
57.     That has the potential to get confusing, so here is a chart that showcases each count of
infringement:

         Strike             My copyrighted          Baz's video Short       Counter-Notification
                                work(s)                    Name                  Pending? ,
  N/a(Baz took down
  the video of his own                              Stormcloaks Part 1               No
         accord)            Ten copyrighted
                                  songs
        V Strike                                    Stormcloaks Part 3               Yes

        2"*^ Strike                                 Stormcloaks Part 2               Yes

                              Civility video     Civility Response Part 1            Yes

                                                                                     Yes
        3^'^ Strike
                           Acerthom Channel
                                                 Civility Response Part 2
                                 Icon #6                                             No

        4"^ Strike          Elden Ring Video       Elden Ring Response               No




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58.    Now that Baz has issued a DMCA Counter-Notification, he no doubt seeks to have his

channel unbanned. To achieve this, he would have to get at least two of his copryight strikes
revoked in their entirety. Bear in mind that he has only countered three of the strikes so far. His
fourth strike -the one pertaining to his Elden Ring Response - has not been countered.
Therefore, no matter what happens in this case, even if he manages to prevail on Infringement
#3, that strike will remain because he never countered it.
59.     Meanwhile, his third strike — the one related to his two-part Civility Response - has two
videos attached to it. To get that strike revoked, both of those videos will have to be reinstated.
This means he will have to prevail on both Infringement #1 and Infringement #2. If he prevails
on #1 but not #2, that means that Civility Response Part 1 may be reinstated, but Civility
Response Part 2 will not. If either of those videos remain stricken, his third strike will remain.
Not to mention, because (as mentioned above) he never countered his fourth strike, that means
he will also have to prevail on at least one of the two strikes related to his Stormcloak Response
as well.

60.     So if Baz's goal was simply to get his channel reinstated, he has his work cut out for him.
           III-4: DMCA Counter-Notification, Libel, and DMCA Misrepresentation
61.     On January 3, 2024,1 received an email from YouTube stating that Baz had issued
DMCA Counter-Notifications against four of the five videos that had been stricken: All of the
above-styled videos except for his Elden Ring Response. Receiving this notice prompted me to
file this Complaint with this Court.
                     ni-4-A: The false statement of fact regarding mv beliefs
62.     However, in addition to simply pleading fair use, he also included the following
statement in his Counter-Notification:

        "The one who sent the copystrike seems to have erroneously assumed that it
        wasn'tfair use simply because I used his content on my videos, but that's simply
        not true."


63.     This is not his opinion. This is a statement of fact. He is claiming what I believe, rather
than his own opinion, which is a statement of cast-iron objective fact. He is making a statement
of fact about my perception of reality and my understanding of the law. Therefore, it is Just as

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defamatory as if he were to state I was a Nazi-sympather, or that I believe that child molestation
should be legalized. Even if he never accused me of engaging in any overt actions pursuant to
those beliefs, publicly stating that 1 hold the beliefs in the first place is still defamatory.
64.         Moreover, this is a belief that, if I did indeed hold it, would be just as delusional as his
belief in the simplicity of fair use, as described in ^ 33 above.
65.         However, this statement is demonstrably false, and made in knowing disregard to the
mountains of evidence to the contrary. Therefore, it qualifies as an act of libel. Furthermore,
since my alleged failure to consider fair use is material to the DMCA Takedown, that means it
also qualifies as a "false material statement" for purposes of 17 USC § 512(f)(2).
66.         While I have provided numerous pieces of rebuttal evidence, one of them which is
especially relevant in this particular case is the video I mentioned earlier in this Complaint, in ^
38 above. That video, more than anything else, is especially pertinent to the instant case, since it,
more than any other public statement I have ever made on the subject of fair use, he should be
privy to that video more than anything else, seeing as he was the main subject of that video.
More than any other public statement about the topic of fair use, his failure to consider the
contents of that video constitute "burying his head in the sand."
67.         In that video, I spent over an hour explaining in exquisite detail how his response videos
fell short of the bar to be considered fair use. At no point in that 82-minute video did I state, or
even imply, that I felt his videos "wasn't fair use simply because [he] used [my] content on [his]
videos"(a belief that, if I did indeed hold it, would be Just as delusional as his belief regarding
the simplicity of fair use, as explained in ^ 33 above). In fact, at multiple points in the video, 1
made statements and asked rhetorical questions which are wholly incompatible with that
delusional view, including, but not limited to, such statements as...
      (a)       Timestamp 1:42- 1:58
            "I thoroughly explained that playing the entirety ofmy video,just with occasional
            commentary over it, is a surefire way to kill your case for fair use"). The
            emphasized words "the entirety of my video" clearly imply that only taking short
            excerpts from my video is acceptable.

      (b)       Timestamp 28:54-29:08


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         "He provided some criticism. The problem is that he copied way, way more of my
         Stormcloaks video than he actually needed in order to make his criticism")- This
         line clearly shows that it is the amount copied, not simply that he copied any at
         all, that kills his case for fair use.

   (c)       Timestamp 40:04 - 40:37
         "Now the thing that's most frustrating about all of this is that Templar had a case
         for fair use practically gift-wrapped for him. Literally all he had to do was take
         out the parts of my video that he didn't need in order to make his criticism. If he
         had simply done that, he would have had a much stronger case."

   (d)       Timestamps 31:35 — 31:49 and 1:11:33 — 1:11:55, two times where 1 concede that he
      might have had a colorable claim to fair use if he had simply used less of my videos before
      giving the criticism, clearly showing that 1 concede that some limited copying is allowed
      under fair use,just not the unlimited copying that he actually engaged in.
   (e)       Timestamp 54:30 - 56:08
         "I cannot emphasize this enough: YOUTUBE'S OWN LAWYERS agreed with
         me that it is not fair use! How can my case possibly be frivolous?! ... even if by
         some miracle, later down the line, it turns out that it isn't fair use, how can you
         possibly say that I had an objectively unreasonable basis for thinking it wasn't
         when YouTube's own lawyers agreed with me after a manual review?!"

68.      Just from those excerpts alone (and many, many others just like it), anyone with half a
brain can tell that 1 do not believe that an infringement of a copyrighted work is automatically
not fair use simply because it uses my copyrighted content. His stubborn refusal to acknowledge
this truth about my position, and his stubborn determination to continue to straw-man my
position, constitutes actual malice: He either knows that his statement about me is false, or acts
in reckless disregard to overwhelming evidence to the contrary.
69.      Even if, by some miracle, he manages to prevail on the issue of fair use, that still doesn't
exonerate him of the libel here. Even if 1 ultimately am wrong about the limitations of fair use,
that doesn't mean 1 felt that it wasn't fair use "simply because [he] used [my] content on [his]
videos," yet the latter is what he accused me of believing. The latter is still demonstrably false
(and therefore libelous) even if he ultimately does prevail on fair use.
70.       At this point, the only way he could possibly claim that he was telling the truth (or at the

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very least, that he reasonably believed in good faith that he was telling the truth) is if he had
some kind of objective evidence of pretext. That is to say, he has some empirical evidence that I
don't actually believe any of the stuff I stated in f 67 or that I will go on to discuss in Section IV-
2 of this Complaint. Instead, I am lying about my belief in the validity of those factors as a
pretext, and that, deep down inside, 1 really do believe that using my copyrighted content in any
capacity is automatically a bar to fair use. But I highly doubt he can produce any real, objective,
empirical evidence to that effect.
71.     Therefore, this statement not only constitutes libel per se (a false statement offact that
portrays me as being unfit for my chosen profession of making YouTube videos), but also
misrepresentation under 17 USC § 512(f)(2), because it is a knowingly false statement that is
material to the DMCA Takedowns I issued against him.
                                 lH-4-B: Mv Demand for Retraction

72.     Later that night on January 3, 2024,1 sent an email to Baz, explaining what I said above,
demonstrating how his statement regarding my beliefs was libel, and demanding that he retract
that statement about me.

73.     As of the time of this writing, I have not received any notice that he has retracted, or even
attempted to retract, the libelous statement pursuant to this demand. Therefore, I am now eligible
for general damages pursuant to the libel, including for emotional distress, loss of reputation, and
punitive damages.
                        III-4-C: Injuries I have suffered from the defamation
74.     In addition to statutory damages for the copyright infringement, I also seek to recover
damages for emotional distress and loss of reputation caused by the libel.
75.     The libel which Baz published about me is not the only instance of this defamation that
has occurred. It is only the most recent instance of a widespread series of accusations against me,
of which Baz is only one of many participants. By participating in this smear campaign willingly,
he has become jointly liable for the injuries I have suffered as a result of it, the same as any other
co-conspirator. It's just the same as how the driver of a getaway car during a bank heist is just as
liable for ail crimes committed and all plaintiffs he injures as the people who personally took the



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money out of the vault and/or fired any shots.
76.     Case 4:23-cv-00321-DMR (Stebbins v. Doe) is also a slander lawsuit, currently pending
before this court, that documents all the harm I have suffered as a result of this widespread smear
campaign. See Dkt. I (Complaint),       132-141 of that case for a description of the emotional
distress, loss of reputation, and even life-threatening stress-related illnesses I have suffered as a
result of the harassment and stochastic terrorism caused by that smear campaign. You can also
see Case 4:22-cv-00546-JSW (Stebbins v. Rebolo), Dkt. 32,          53-140 for an abridged
description of the harassment and stochastic terrorism I have been subjected to that lead to all
this emotional distress and life-threatening stress-related illnesses.
77.     Now that Baz has willingly participated, notjust in the copyright infringement, but also
the defamation, he deserves to be jointly liable for all the harm this defamation has caused me,
even if his own personal contributions may have amounted to an infinitesimal portion of the
overall collective pot. It's just the same as how the driver of a getaway car during a bank heist is
just as liable for all crimes committed and all plaintiffs who are injured as the people who
personally took the money out of the vault and/or fired any shots.
                                    IV: LEGAL ARGUMENT

78.     The following laws are applicable to this case.
                           IV-1: Prima Facie Copyright Infringement
79.    "There are only two elements necessary to the plaintiffs case in an infringement action:
ownership of the copyright by the plaintiff and copying by the defendant." See Hustler
Magazine, Inc. v. Moral Majority, Inc., 796 F. 2d 1148, 1151 (9th Cir. 1986).
80.     Baz has undeniably copied from my Civility, Elden Ring, and Stormcloaks videos (which
in turn means he also copied from my copyrighted songs). He also undeniably copied my icon at
timestamp 25:55 of Civility Response Part 2. Therefore, for all thirteen counts of infringement,
the second essential element of copyright infringement has been sufficiently plead.
81.     Meanwhile, the factual allegations in      7-23 sufficiently allege that I own the copyright
in the works that I am suing over today.
                                           IV-2: Fair Use




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82.     As I have been alluding to throughout this Complaint, fair use is most likely going to be
the defendant's primary defense.
                                 IV-2-A: Criticism & Commentary

83.     While it is true that Baz occasionally provided criticism of my videos, he only does so
very sparingly. Even then, not all of his original commentary could truly be classified as
"transformative." For example, in Stormcloaks Response Part 2, at timestamp 15:40, Baz merely
exclaims in frustration, but fails to provide any actual commentary or criticism. Meanwhile, in
that same video, at timestamp 18:52, he simply says "No it doesn't." These two clips do not meet
the legal threshold to be considered "transformative." In order to be transformative, "[tjhe use
must be productive" and must aid "in the creation of new information, new aesthetics, new
insights and understandings." See Seltzer v. Green Day, Inc., 725 F. 3d II70, II76(9th Cir.
2013). From these two clips (and others like it), we gain no genuine insight or understanding of
the original Stormcloaks video, other than the fact that he just doesn't like my video. At best, this
should be considered the bare minimum amount of criticism.

84.     However, while other parts of his videos are a bit closer to being considered
"transformative," it is important to realize that this is where his case for fair use begins and ends.
Even if every other piece of criticism he provides fits the criteria to be considered
"transformative" to a tee (which I dispute), the defendant's case for fair use must still fail because
TDSOT has utterly failed to meet even a single other factor of fair use in his favor.
                                    IV-2-B: Commercialization

85.     These two videos were commercialized. Even if Baz is not a member of the YouTube

partner program (and even that has yet to be proven), YouTube itself is still profiting off of these
videos being on its site. YouTube always puts ads on every video, even if the channel owner is
not part of the YouTube Partner Program. See httpswww.searchenginejournal.com/youtube-is-
showing-ads-on-non-monetized-channels/388674/("YouTube is running ads on non-monetized
channels, but the creators aren't receiving a share of ad revenue").
86.     If prior communications are anything to go by, the defendant is sure to argue that the
infringing videos should not be considered "commercialized" unless Baz himself is directly



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profiting off of them. But that Is not how the law works. In fact, it is literally the complete
opposite, if anyone, at any point in the distribution of the infringing article, makes any money
from its distribution, then the infringing article is commercialized, and everyone who is
otherwise legally culpable for its distribution must acknowledge its commercial nature. See '
https://www.insidehighered.com/views/20l l/08/02/myths-about-fair-use:
       "Myth #3: Fair use is easy for an academic — 1 can take whatever I want
       because everything I do is noncommercial.

       Reality: Working noncommercially does give you some privileges, but you'll be
       stuck in a gray zone if you depend on that to justify fair use. You won't be able to
       circulate your work in academic journals (they carry ads) or books (even
       nonprofit publishing houses sell their books). Even when you contribute for free
       to online sites, somebody's conducting commercial activity — perhaps an
       advertiser placing ads on a site, or a data miner."

87.    In other words, even if Baz did not personally see one cent of any of the revenue made
from his response videos, they would still be considered "commercialized," simply because
someone, somewhere, is making money off of them in some capacity.
88.     But even if the Court disagrees with me, and finds that Baz himself must have personally
profited from the videos, the Court cannot make that factual finding on a § 1915 review or on a
Rule 12(b) Motion to Dismiss. At the pleading stage, the Court must accept all facts in the
complaint as true and in a light most favorable to the Plaintiff. This means that, for the purposes
of the Complaint, the Court must assume that the video is being commercialized by Baz in some
capacity, and then work from there. Then, Baz will have to testify to what extent he is, directly or
indirectly, profiting off the infringing videos, or whether he even has any hopes of ever profiting
off ofthem in the future. But that is a bridge the Court and I will have to cross when we come to
it.

                        1V-3-C: Factor #2: Nature of the Copvrighted Work
89.    First, as I mentioned earlier, all of the copyrighted works that I am suing over today are
all unpublished. See Section III-I-F above. This automatically means that the second factor of
fair use must weigh against the defendant, regardless of the level of creativity in the original
work. See Monge v. Maya Magazines, Inc., 688 P. 3d 1164, 1177-78 (9th Cir. 2012)(holding that

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the "unpublished" sub-factor outweighs the "nonfiction" sub-factor).
90.    However, even if the Court disagrees with my interpretation of Circular 66 and insists
that the songs are all published, the second factor must still weigh against fair use because these
works are all highly creative. Music is inherently creative, and since the ten songs are what I
have a copyright registration over and what I am officially suing over (at least in regards to
Infringements #4 - #13), that is the element of the Stormcloaks video that should be considered
when discussing the second factor of fair use.
91.     But even barring that, even the elements that are entirely unique to the Stormcloaks video
are still highly creative. For example, at timestamp 3:09 - 3:36 of the Stormcloaks video (which
was included in Part 1 of Baz's infringing series, at timestamp 8:03 - 8:08, without him even
commenting on or criticizing it), you can see me making a statement that is, indeed, extremely
expressive. Similarly expressive statements can be found all throughout the Stormcloaks video,
including at timestamps 43:46-43:53, 1:39:45 - 1:40:06, 2:02:04-2:02:32, and 2:21:19 -
2:21:32,just to name a few.
92.     Of course, 1 am not currently suing over the Stormcloaks video itself, but if TDSOT can
get fair use over the Stormcloaks video, he also has fair use over the ten background songs, so it
is still worth addressing.
93.    Even the Civility and Elden Ring videos qualify as "highly creative" in this regard, even
if they weren't unpublished. Those two videos are dominated by my opinions, not statements of
cast-iron objective fact. Therefore, the second factor should weigh against fair use. See
Cambridge University Press v. Patton, 769 F. 3d 1232, 1270(11th Cir. 2014):
       "[W]e find that the District Court erred in holding that the second factor favored
       fair use ... Where the excerpts of Plaintiffs' works contained evaluative,
       analytical, or subjectively descriptive material ... or derives from the author's
       experiences or opinions, the District Court should have held that the second factor
        ... weighed against fair use in cases of excerpts that were dominated by such
        material."


94.     The same is also true about the Stormcloaks video: Dominated by opinions and
evaluative, analytical, and subjectively-descriptive material.
95.     Therefore, whether the works are unpublished or whether the works are highly creative,

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the second factor weighs heavily against fair use.
                  IV-3-D: Factor #3: Amount & Substantiality of Portion Taken

96.     In all instances that I am suing over in this case, Baz copied 100% of the original videos,
literally every single last second of them. This is an egregious violation of the third factor of fair
use. In fact, it used to be the precedent in the 9th Circuit that, whenever a secondary user copied
the entirety of the original work, that precluded fair use in its entirety. See Hustler Magazine, Inc.
v. Moral Majority, Inc., 796 F. 2d 1148, 1155 (9th Cir. 1986).
97.     Although that is no longer the case, the 9th Circuit has nonetheless held that using the
entirety of the original work still means that the third factor weighs against fair use as a matter of
course, without the district courts being afforded any discretion in this regard. See Worldwide
Church of God v. Philadelphia Church of God, Inc., 227 F. 3d 1110, II18 (9th Cir. 2000)(citing
Hustler, supra at 1155). While it is theoretically possible to still get fair use overall while copying
100% of the original work, the district court must still find the third factor to weigh against fair
use as a matter of binding precedent.
                                    IV-3-E: Effect on the Market

98.    "This last factor is undoubtedly the single most important element of fair use." See De
Fontbrune v. Wofsy, 39 F, 4th 1214, 1226(9th Cir. 2022)(citing Harper & Row, Publishers, Inc.
V. Nation Enterprises, 471 US 539(1985)). Moreover, it is the one factor that has been expressly
affirmed by the Supreme Court as being singularly capable of negating fair use in its entirety, all
on its own."[T]o negate fair use one need only show that if the challenged use should become
widespread, it would adversely affect the potential market for the copyrighted work." See
Monge, supra at 1182(emphasis in original). "If the defendant's work adversely affects the value
of any of the rights in the copyrighted work ... the use is not fair." Harper & Row at 568.
99. It is also important to note that the defendant necessarily holds the burden of proof on this
issue. See Dr. Seuss v. Comicmix, 983 F. 3d 443 (9th Cir. 2020), which unequivocally calls upon
the defendant,"as the proponent of the affirmative defense of fair use," to "bring forward
favorable evidence about relevant markets," and stating that this is one of the few "absolute
statements" when it comes to fair use. See id at 458-60.



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100.     I am not required to allege market harm in the Complaint. See Peterman v. Republican
National Committee, 320 F. Supp. 3d 1151, 1157(MT 2018) C'[l]t is not necessary to plead facts
that disprove fair use to survive a Rule 12(b)(6) motion to dismiss"). The fact that I am offering
to make a token argument here is a courtesy, not a requirement.
101.     That being said, Baz has copied the entirety of my Civility and Elden Ring videos, and he
has made it clear that he plans to cover the entirety of my Stormcloaks video in his current
format(where he plays long stretches of the video and only occasionally intersperses them with
brief excerpts of criticism) if given the chance to. He was not allowed to finish the series before
his channel was taken down, but he has made it clear that this is his intention if his channel is
ever reinstated. If he is allowed to complete this series under this format, he will have copied
literally 100% of the Stormcloaks video, literally every single last second of it.
102.     This constitutes a market substitute, per se.
   (a)       See also Hustler Magazine, Inc. v. Moral Majority, Inc., 796 F. 2d 1148, 1154(9th
    Cir. 1986)
         "[B]y copying all or substantially all of the copyrighted work, the distinction of
         function vanishes since whatever the intent of the copier, a verbatim reproduction
         will of necessity serve the function of the plaintiffs work as well as that of the
         defendant's."


   (b)       See also Cambridge University Press v. Patton, 769 F. 3d 1232, 1271 (11th Cir. 2014)
         "A book reviewer who copies snippets of a book is likely to increase the demand
         for the book, but were a book reviewer to quote the entire book in his review ...
         he would be cutting into the publisher's market, and the defense of fair use would
         fail."


   (c)       See also Consumers Union of US v. General Signal Corp., 724 F. 2d 1044, 1051 (2nd
    1983)
         "The fourth fair use factor will come into play if too much is copied or if the
         entire plot is revealed, thereby usurping the demand for the original work."

   (d)       See also https://youtu.be/lJwo5qc78QU?t=1158 (timestamp 19:18 - 20:22)
         "Mystery Science Theater was... absolutely transformative, but they still licensed
         the movies ... because yeah, playing someone else's entire movie,Just with


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         wisecracks over it? Probably not fair use!"

       (e) See www.youtube.com/clip/UgkxDPeQBnbcZAewwjxh7tHyYQPpeMkYUrNS
       "by showing those clips in full to the audience ... it's entirely possible that you
       might not watch the [original] videos because you saw, basically, the whole thing
       in [the defendantj's videos."

       (f) www.youtube.com/clip/Ugkxp9Ev6N8qsYViDPqkrtAuE8nZZWpq8oD7
         "if it completely displaces the market for the original, it's probably not fair use,
         and it's pretty obvious that, once you see a video during a [response to it] ... you're
         not gonna go back and watch the whole video again."

   (g)       See also www.youtube.com/clip/Ugkxznh99XHVyjyPhyQK.WiWE_n8XASNgbpxW
         "Honestly, were it not public domain, I don't think it would meet the
         transformative requirements for fair use parody protection. Large parts of the
         original text are copy-pasted pretty much verbatim, punctuated only occasionally
         with Arabella's cynical or horrified thoughts on the matter... this isn't really Matt
         Youngmark's book; it's Frank L. Balm's book with sarcastic commentary penciled
         into the margins."

103.     Therefore, if the Defendant wishes to argue fair use, he has some heavy lifting to do
when it comes to proving a lack of market substitute.
                                    IV-3-E: Fair Use in Conclusion

104.     In conclusion, we have three of the four factors weighing definitively against fair use,
with one factor (the first factor) being an extremely borderline case, given how few and far
between the criticism actually is, and how undeniably commercial the site on which it is hosted
is. See Monge v. Maya Magazines, Inc., 688 F. 3d 1164, 1177 (9th Cir. 2012)("[The
Defendant's] minimal transformation of the [original work] is substantially undercut by its
undisputed commercial use. On balance, the first factor is at best neutral, and does not support
[the Defendant]'s claim of fair use")(citations omitted).
105.     With 3Y2 factors weighing against Baz as a matter of course, that leaves criticism as his
last bastion of hope for obtaining fair use. However, with 3'/2 factors weighing against him right
out of the gate, then unless the criticism he provides is absolute go/rf- notjust giving dissenting
opinions, but extremely insightful, downright philosophical commentary, the kind that Confucius


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himself would tip his hat to - then his case for fair use is effectively dead on arrival.
106.    The defendant had a case for fair use practically gift-wrapped for him. All he had to do
was remove all the parts of my videos he didn't need in order to make his criticism. If he had just
done that, he would have had a much stronger case. But he felt that was beneath him.
107.    Contrary to common misconception, the addition of a nonzero amount of criticism, no
matter how few and far between, does not automatically guarantee that your video is fair use, to
the exclusion of all other factors. This is the misconception that Baz and many other YouTubers
just like him fall victim to, but that is not actually how the law works. See See Dr. Seuss
Enterprises, LP v. COMICMIX LLC,983 F. 3d 443,452 (9th Cir. 2020)(citing Monge at 1173)
("While the analysis of... fair use ... may be guided by the examples given in the preamble to §
107. i.e., criticism, comment, news reporting, teaching, scholarship, and research, not even these
works compel a per se finding of fair use")(citations and quotations omitted).
108.    Therefore, the claim for fair use which the Defendant is sure to attempt to raise in this
case must fail.

                                             IV-3: Libel

109.    The tort of libel involves (a) a publication that is(b)false,(c) defamatory,(d)
unprivileged, and that(e) has a natural tendency to injure or that causes special damage. See
Taus V. Loftus, 54 Cal.Rptr.3d 775, 804(2007).
110.    The statement referenced in ^ 62 was submitted to YouTube's copyright enforcement
department. This counts as "publication" because it was communicated to at least one third party.
111.    To be false, it must first be a statement of fact, or at least mixed fact and opinion.
Fortunately, the allegations of^ 63 above sufficiently establish Baz's statement as one of fact.
112.    As for being false, the allegations of^^1 65-68 above (and especially ^ 67 and its
corresponding sub-paragraphs) sufficiently plead facts which prove the statement to be false.
113.    The third element- defamatory - only means it is "injurious to reputation." See
https://www.dictionary.com/browse/defamatory. Baz's statement about me clearly meets this
requirement. By accusing me of holding this highly delusional belief about how fair use works,
he is attempting to portray me as completely delusional and entirely disconnected from reality.



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114.    Unprivileged just means that it wasn't stated in any capacity where a speaker has the
absolute privilege to publish defamatory material, such as during a Congressional floor debate or
during litigation. This is obviously not present here.
115.    As 1 explain in Section II1-4-C of this Complaint, as well as the thereby incorporated
paragraphs of other filings, the smear campaign (of which Baz is now a willing participat) has
resulted in thousands of people harassing me,to the point of me suffering life-threatening
pneumonia due to the stress and anxiety. As a result, this defamation absolutely qualifies as
having a natural tendency to injure.
116.   Therefore, Baz's statement about me mentioned in ^ 62 of this Complaint meets all the
requirements to be actionable libel.
                                 IV-4: DMCA Misrepresentation
117.    The same statement which constitutes libel also constitutes DMCA misrepresentation
under 17 USC § 5i2(f)(2). In order to violate that statute, a DMCA Counter-Notification must
make a representation to the ISP (in this case, YouTube)that is(A) material to the Counter-
Notification and/or its corresponding DMCA Takedown,(B)false, and (C)the defendant either
knew it was false or acted with reckless disregard to its falsity, similar to the threshold for
defamation of a public figure as set forth in New York Times Co. v. Sullivan, 376 U.S. 254
(1964).
118.    The statement mentioned in ^ 62 undoubtedly counts as a "representation." It is also false
for reasons I have already stated when discussing the law of libel. It is undoubtedly "material" to
the DMCA Counter-Notification because it heavily implies that my DMCA Takedown was
bordering on violating 17 USC § 512(f)(1) in its own right.
119.    A statement does not have to be singularly dispositive of the DMCA Takedown (such as a
total failure to consider fair use in any capacity) in order to be considered "material." As my
state's Supreme Court frequently finds,"evidence need not conclusively prove the ultimate fact
in issue ... To be relevant evidence it need only be a brick, not a wall." See Walker v. State, 783
SW 2d 44,46(1990)^ (citations and quotations omitted).
120.    The factual allegations contained in 5111 65-68(and especially ^ 67 and its corresponding
5 https://scholar.google.com/scholar_case?case=l3786370352728227242

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sub-paragraphs) sufficiently establish that the Defendant either knew this statement was most
likely false or actively buried his head in the sand regarding evidence that it was false.
121.   Therefore, 1 have sufficiently plead DMCA Misrepresentation.
                                    V: RELIEF REQUESTED
122.   For the 13 counts of copyright infringement, I request the following relief:
                      V-1: Statutory Damages for copyright infringement
123.   First, I request statutory damages of $150,000 for each of the ten different copyrighted
works that were infringed. Because there were thirteen (13)counts of infringement, this comes
out to a total of$1,950,000 in statutory damages.
124.   1 am eligible for statutory damages for all thirteen counts of infringement under 17 USC
§ 412(2). The ten copyrighted songs were all registered on March 5, 2023, which predates Baz's
infringement of them, so 1 am eligible for statutory damages there.
125.   For the Civility video, Elden Ring video, and Icon #6, it's a little more complicated. In
those instances, the must remember that all of these works are, at least officially, unpublished, for
reasons I explain in Section III-l-F of this Complaint. For this reason, 1 can apply for registration
of those works whenever I want, and 1 would still be eligible for statutory damages. Affer all, any
registration date is necessarily "within three months after the first publication^" if there is nofirst
publication\
126.    Therefore, I am eligible for statutory damages for all thirteen counts of infringement;
                     V-2: Damages for libel and DMCA Misrepresentation
127.    For the libel and DMCA misrepresentation, 1 ask for damages for emotional distress and
loss of reputation in the amount of S1,000,000 US dollars. This is the same that I am requesting
from SidAlpha in Case 4:23-cv-0032l-DMR. As 1 explain in the Complaint in that case, the,
dollar amount is based roughly on what the cost of my hospitalization and surgery would have
been if I were not insured, and so is used as an approximation ofthe value of emotional distress,
loss of reputation, and pain and suffering that I have suffered as a result of all of the harassment
and stochastic terrorism that the smear campaign (of which Baz is now a willing participant)
inflicted upon me.
6   17 USC §412(2)


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128.   1 also ask that the Court award me an amount of punitive damages, up to ten times the
aforementioned compensatory damages, to sufficiently deter the defendant and others like him
from participating in this smear campaign in the future.
                       V-3: Injunctive Relief for Copyright Infringement
129.   For all counts of copyright infringement, 1 ask for the following injunctive reliefs:
130.   First, I ask that he be made to remove all instances of my copyrighted content from all of
his social media accounts in their entirety, pursuant to 17 USC § 502.
131.   Second, 1 ask that he be made to hand over all of his computers, smartphones, and other
devices on which my copyrighted content may potentially be stored, and that they be impounded
and purged of all instances of my copyrighted content, pursuant to 17 USC § 503.
132.   1 ask that the Defendant be made to pay, in the first instance, all costs associated with
compliance with these injunctions.
                V-4: Injunctive Relief for Libel and DMCA Misrepresentation
133.   In response to his libel and DMCA misrepresentation, 1 ask that he be ordered to publicly
correct the statements he made about me in such a way that ensures that my reputation is fully
restored. He should not be required simply to tell everyone that he was wrong, but to actually
convince them, to the point where literally everyone on Earth, with no exceptions, has either
never heard of this controversy in tlie first place, or their must subjectively believe that I am the
blameless victim of copyright infringement that is not fair use (and that Baz willingly and
maliciously participated in same), and absolutely nothing else.
134.    That sounds impossible, but it really is not. Such feats have been accomplished in the
past. One of the most famous examples of this happening is the plaintiff in the case of Liebeck v.
McDonald's Restaurants, also known as the "McDonald's coffee case." For several years after
that case concluded, Ms. Liebeck was branded as a greedy vexatious litigant(much like what
Baz and his allies are attempting to do to me), but now, in the 2020s, it is virtually unheard of to
find a person who still genuinely believes that. Nowadays, the efforts to correct the story have
been so successful and so thorough that the only time you ever hear the original story is when the
person telling it is specifically setting up to explain how that misconception has been thoroughly


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disproven.
135.    So that alone proves that it is not impossible to fully restore my reputation. It may be
difficult, and it may be expensive, but that alone has never stopped a court from issuing an
injunction that substantial justice otherwise requires.
136.    In practice, this would mean that Baz would be held in contempt of court (including
invoking the USA's extradition treaty with Brazil to have him forcibly brought to the United
States to spend time in coercive confinement) if anyone ever accuses me, openly or behind
closed doors, of believing that a copyright infringement is automatically not fair use "simply
because [he] used [my] content on [his] videos," or some reasonably similar variation thereof.
After all, if someone continues to make that accusation against me, that is clearly evidence that
Baz has failed in his injunction to convince everyone that this is not true, isn't it?
                                          V-5: Other Relief

137.    I also ask for costs incurred to be reimbursed (including the fees needed to register the
copyrights for all of these works), and also for any other relief that the Court believes I may be
entitled to.

                                        VI: CONCLUSION

138.    Wherefore, premises considered, 1 respectfully pray that judgment in my favor be
granted, costs incurred be awarded and for any other relief to which I may be entitled.
        So requested on this, the 8'^ day of January, 2024.



                                                                              David Ste^ins (pro se)




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